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                                                                                             OCT 2 4 20!~
                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS    J-~~ES W ~~ACK, CLERK
                             WESTERN DIVISION          81 - - - ~    DEPCLER



STACEY HILL, Individually and on                                                    PLAINTIFF
Behalf of Others Similarly Situated


vs.                                No. 4:18-cv-     ---=f:t>l,-~

FLIS MANAGEMENT COMPANY, INC.                                                     DEFENDANTS
and FLIS ENTERPRISES, INC.


         ORIGINAL COMPLAINT-CLASS AND COLLECTIVE ACTION


        COMES NOW Plaintiff Stacey Hill, individually and on behalf of all others

similarly situated (collectively, "Plaintiff'), by and through his attorneys Chris

Burks and Josh Sanford of the Sanford Law Firm, PLLC, and for his Original

Complaint-Class and Collective Action against Defendants Flis Management

Company, Inc., and Flis Enterprises, Inc. (collectively "Defendants"), does hereby

state and allege as follows:                                                        -...J.          ~Ct"-~
                                                                                                       v
                                                                                             0\p~           ..
                        I.       JURISDICTION AND VENUE

        1.    Plaintiff, individually and on behalf of all others similarly situated,

brings this action under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

("FLSA"), and the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, et

seq. ("AMWA"), for declaratory judgment, monetary damages, liquidated
damages, prejudgment interest, civil penalties and costs, including reasonable

attorneys' fees as a result of Defendants' failure to pay Plaintiff and all others




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similarly situated overtime compensation for all hours that Plaintiff and all others

similarly situated worked in excess of forty (40) per workweek.

       2.     The United States District Court for the Eastern District of Arkansas

has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

1331 because this suit raises federal questions under the FLSA.

       3.     Plaintiff's claims under the AMWA form part of the same case or

controversy and arise out of the same facts as the FLSA claims alleged in this

Complaint.

       4.     Therefore, this Court has supplemental jurisdiction over Plaintiff's

AMWA claims pursuant to 28 U.S.C. § 1367(a).

       5.     Defendants conduct business within the State of Arkansas,

operating several fast food eating establishments.

       6.     Venue lies properly within this Court under 28 U.S.C. § 1391 (b)(1)

and (c)(2), because the State of Arkansas has personal jurisdiction over

Defendants, and Defendants therefore "reside" in Arkansas.

       7.     Defendants employed Plaintiff at a restaurant located in the Eastern

District of Arkansas. Therefore, the acts alleged in this Complaint had their

principal effect within the Eastern District of Arkansas, and venue is proper in this

Court pursuant to 28 U.S.C. § 1391.

                                 II.      THE PARTIES

      8.      Plaintiff Stacey Hill is a citizen of the United States and a resident

and domiciliary of the State of Arkansas.




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       9.    At all times relevant to the allegations in this Complaint, Plaintiff

was an hourly-paid employee at one of Defendants' eateries in North Little Rock.

       10.   At all times material herein, Plaintiff and those similarly situated

have been entitled to the rights, protections and benefits provided under the

FLSA and the AMW A.

       11.   Defendant Flis Management Company, Inc. ("Flis Management"), is

a fast food eatery company headquartered in Little Rock, Arkansas.

       12.   Defendant Flis Management is a domestic for-profit corporation

whose registered agent for service of process for the state of Arkansas is

Dominic Flis, 5111 Jerry Drive, Suite A, Little Rock, Arkansas.

      13.    Defendant Flis Management has employees that handle, sell, or

otherwise work with goods or materials that have been moved in or produced for

commerce.

       14.   Defendant Flis Management's annual gross volume of sales or

business done is not less than $500,000.00.

      15.    Defendant Flis Enterprises, Inc. ("Flis Enterprises"), is a fast food

eatery company headquartered in Little Rock, Arkansas.

      16.    Defendant Flis Enterprises is a domestic for-profit corporation

whose registered agent for service of process for the state of Arkansas is

Dominic Flis, 5111 Jerry Drive, Suite A, Little Rock, Arkansas.

      17.    Defendant Flis Enterprises has employees that handle, sell, or

otherwise work with goods or materials that have been moved in or produced for

commerce.

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       18.     Defendant Flis Enterprises' annual gross volume of sales or

business done is not less than $500,000.00.

       19.     Defendants are an "employer" within the meanings set forth in the

FLSA and AMWA, and were, at all times relevant to the allegations in this

Complaint, Plaintiff's employer.

       20.     Defendants have more than four employees.

                           Ill.     FACTUAL ALLEGATIONS

       21.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       22.     Defendants own and operate more than twenty Burger King

restaurants in Arkansas.

       23.     Defendants employed Plaintiff at a restaurant in North Little Rock,

within the three years prior to the filing of this lawsuit.

       24.     During the period relevant to this lawsuit, Defendants classified

Plaintiff as an hourly employee non-exempt from the overtime requirements of

the FLSA and the AMWA.

       25.     Defendants have policies requiring minimum staffing levels at their

restaurants that make it necessary for employees to work more than forty hours

per week on a regular basis.

       26.     Defendants have policies limiting the amount of overtime work that

restaurant managers are allowed to record for restaurant employees.




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          27.   Defendant's policies effectively require managers to "shave" time

off of employees'           recorded      hours to comply with               Defendant's staffing

requirements and overtime limits.

          28.   Defendant's policies effectively require employees to work "off the

clock" to comply with Defendant's staffing requirements and overtime limits.

                IV.       REPRESENTATIVE ACTION ALLEGATIONS

                                 A.       FLSA § 216(b) Class

          29.   Plaintiff brings his claims for relief for violation of the FLSA as a

collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

          30.   The FLSA Collective consists of all persons who were, are, or will

be employed by Defendants as hourly-paid restaurant team workers at any

Burger King restaurant at any time within the applicable statute of limitations

period.

          31.   In conformity with the requirements of FLSA Section 16(b), Plaintiff

has attached hereto a written Consent to Join this lawsuit.

          32.   The relevant time period dates back three years from the date on

which Plaintiff's Original Complaint-Class and Collective Action was filed herein

and continues forward through the date of judgment pursuant to 29 U.S.C. §

255(a).

          33.   The members of the proposed Hourly FLSA Collective are similarly

situated in that they share these traits:

       a.       They were classified by Defendants as non-exempt from the

minimum wage and overtime requirements of the FLSA;

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       b.     They were paid hourly rates; and

       c.     They were subject to Defendants' common policy of reducing the

recorded hours of work for hourly employees by modifying existing time clock

records.

       34.    Plaintiff is unable to state the exact number of potential members of

the FLSA Collective but believes that the class exceeds one hundred (100)

persons.

       35.    Defendants can readily identify the members of the Section 16(b)

Collective, which encompasses all hourly-paid restaurant team workers at its

Burger King restaurants.

       36.    The names and physical and mailing addresses of the FLSA

collective action plaintiffs are available from Defendants, and a Court-approved

Notice should be provided to the FLSA collective action plaintiffs via first class

mail and email to their last known physical and electronic mailing addresses as

soon as possible, together with other documents and information descriptive of

Plaintiff's FLSA claim.

                           B.       AMWA Rule 23 Classes

       37.    Plaintiff, individually and on behalf of all others similarly situated

who were employed by Defendants within the State of Arkansas, brings this

claim for relief for violation of the AMWA as a class action pursuant to Rule 23 of

the Federal Rules of Civil Procedure.

       38.    Plaintiff proposes to represent all persons who were, are, or will be

employed by Defendants as similarly situated hourly-paid restaurant team

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workers at its restaurants within Arkansas at any time within the applicable

statute of limitations period.

       39.     Upon information and belief, Defendant employs more than one

hundred hourly employees within Arkansas. Therefore, the proposed Hourly

AMWA Class is so numerous that joinder of all members is impracticable.

       40.    Common questions of law and fact relate to all of the proposed

Hourly AMWA Class members, such as:

       a.     Whether Defendants had an unlawful policy of adjusting time clock

records so as to reduce class members' hours worked;

       b.     Whether Defendants maintained accurate records of hours worked

by members of the proposed class as required by the AMWA; and

       c.     Whether Defendants paid the members of the proposed class one

and one-half times their regular wages for hours worked over forty (40) in each

week in accordance with the AMW A.

       41.    The above common questions of law and fact predominate over

any questions affecting only the individual named Plaintiff, and a class action is

superior to other available methods for fairly and efficiently adjudicating the

claims of the members of the AMWA Class.

       42.    The class members have no interest in individually controlling the

prosecution of separate actions because the policy of the AMWA provides a

bright-line rule for protecting all non-exempt employees as a class. To wit: "It is

declared to be the public policy of the State of Arkansas to establish minimum

wages for workers in order to safeguard their health, efficiency, and general well-

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being and to protect them as well as their employers from the effects of serious

and unfair competition resulting from wage levels detrimental to their health,

efficiency, and well-being." Ark. Code Ann. § 11-4-202. To that end, all non-

exempt employees must be paid for time worked over forty (40) hours per week

at a rate of one and one-half times their regular rate. Ark. Code Ann. § 11-4-211.

       43.    At the time of the filing of this Complaint, neither Plaintiff nor

Plaintiff's counsel knows of any litigation already begun by any members of the

proposed class concerning the allegations in this Complaint.

       44.    Concentrating the litigation in this forum is highly desirable because

Defendants are based in the Eastern District of Arkansas and because Plaintiff

and all proposed class members work or worked within Arkansas.

       45.    No difficulties are likely to be encountered in the management of

this class action.

       46.    The claims of Plaintiff are typical of the claims of the proposed

classes in that Plaintiff worked as an hourly employee for Defendants and

experienced the same violations of the AMWA that all other class members

suffered.

       4 7.   Plaintiff and his counsel will fairly and adequately protect the

interests of the class.

       48.    Plaintiff's counsel are competent to litigate Rule 23 class actions

and other complex litigation matters, including wage and hour cases like this one,

and to the extent, if any, that they find that they are not, they are able and willing

to associate additional counsel.

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       49.     Prosecution of separate actions by individual members of the

proposed class would create the risk of inconsistent or varying adjudications with

respect to individual members of the proposed class that would establish

incompatible standards of conduct for Defendants.

                         V.       FIRST CAUSE OF ACTION

                   (Individual Claim for Violation of the FLSA)

       50.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       51.     Plaintiff asserts this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201, et seq.

       52.     At all relevant times, Defendants were Plaintiff's "employer" within

the meaning of the FLSA, 29 U.S.C. § 203.

       53.     At all relevant times, Defendants have been, and continue to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. §

203.

       54.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to forty

(40) in one week and to pay time and a half of regular wages for all hours worked

over forty (40) hours in a week, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying Department of Labor

regulations.

       55.     At all times relevant to this Complaint, Defendants classified

Plaintiff as non-exempt from the overtime requirements of the FLSA.

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           56.   Despite the entitlement of Plaintiff to minimum wage and overtime

payments under the FLSA, Defendants failed to pay Plaintiff an overtime rate of

one and one-half times his regular rate of pay for all hours worked over forty (40)

in each one-week period.

           57.   Defendants' failure to pay Plaintiff all overtime wages owed was

willful.

           58.   By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the three (3)

years prior to the filing of this Complaint.

                         VI.      SECOND CAUSE OF ACTION

                    (Individual Claim for Violation of the AMWA)

           59.   Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

           60.   Plaintiff asserts this claim for damages and declaratory relief

pursuant to the AMWA, Arkansas Code Annotated§§ 11-4-201 et seq.

           61.   At all relevant times, Defendants were Plaintiffs "employer'' within

the meaning of the AMWA, Ark. Code Ann.§ 11-4-203(4).

           62.   Arkansas Code Annotated §§ 11-4-210 and 211 require employers

to pay all employees a minimum wage for all hours worked up to forty in one

week and to pay one and one-half times regular wages for all hours worked over

forty hours in a week, unless an employee meets the exemption requirements of

29 U.S.C. § 213 and accompanying Department of Labor regulations.

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           63.   At all times relevant to this Complaint, Defendants classified

Plaintiff as non-exempt from the overtime requirements of the AMWA.

           64.   Despite the entitlement of Plaintiff to minimum wage and overtime

payments under the AMWA, Defendants failed to pay Plaintiff an overtime rate of

one and one-half times his regular rate of pay for all hours worked over forty (40)

in each one-week period.

           65.   Defendants' failure to pay Plaintiff all overtime wages owed was

willful.

           66.   By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the three (3)

years prior to the filing of this Complaint pursuant to Arkansas Code Annotated §

11-4-218.

                           VII.     THIRD CAUSE OF ACTION

                 (Collective Action Claim for Violation of the FLSA)

           67.   Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

           68.   Plaintiff, individually and on behalf of all others similarly situated,

asserts this claim for damages and declaratory relief pursuant to the FLSA, 29

U.S.C. § 201, et seq.

           69.   At all relevant times, Defendants have been, and continue to be, an

"employer'' of Plaintiff and all those similarly situated within the meaning of the

FLSA, 29 U.S.C. § 203.

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         70.   Defendants classified Plaintiff and all similarly situated members of

the Hourly FLSA Collective as non-exempt from the overtime requirements of the

FLSA.

         71.   Despite the entitlement of Plaintiff and those similarly situated to

minimum wage and overtime payments under the FLSA, Defendants failed to

pay Plaintiff and all those similarly situated an overtime rate of one and one-half

times their regular rates of pay for all hours worked over forty (40) in each one-

week period.

         72.   In the past three years, Defendants have employed many hourly-

paid restaurant team workers.

         73.   Like Plaintiff, these hourly-paid restaurant team workers regularly

worked more than forty (40) hours in a week.

         74.   Because these employees are similarly situated to Plaintiff, and are

owed overtime for the same reasons, the opt-in class may be properly defined

as:

      All hourly-paid restaurant team employees within the past three years.

         75.   Defendants willfully failed to pay overtime wages to Plaintiff and to

others similarly situated.

         76.   By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff and all those similarly situated for monetary damages, liquidated

damages, and costs, including reasonable attorneys' fees, for all violations that

occurred within the three (3) years prior to the filing of this Complaint.




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                        VIII.    FOURTH CAUSE OF ACTION

                (Class Action Claim for Violation of the AMWA)

       77.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       78.    Plaintiff, individually and on behalf of the members of the proposed

class, asserts this claim for damages and declaratory relief pursuant to the

AMWA, Arkansas Code Annotated §§ 11-4-201 et seq.

       79.    At all relevant times, Defendants have been, and continue to be, an

"employer'' of Plaintiff and the members of the proposed class within the meaning

of the AMWA, Arkansas Code Annotated§ 11-4-203(4).

       80.    Defendants classified Plaintiff and all members of the AMWA Class

as non-exempt from the overtime requirements of the AMW A.

       81.    Despite the entitlement of Plaintiff and the members of the

proposed class to minimum wage and overtime payments under the AMWA,

Defendants failed to pay Plaintiff and the members of the proposed class an

overtime rate of one and one-half times their regular rates of pay for all hours

worked over forty (40) in each one-week period.

       82.    Plaintiff proposes to represent the AMWA liability class of

individuals defined as follows:

                    All hourly-paid restaurant team workers in
                     Arkansas within the past three years.

       83.    Defendants willfully failed to pay overtime wages to Plaintiff and the

members of the proposed class.


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       84.    By reason of the unlawful acts alleged herein, Defendants are liable

to Plaintiff and all members of the proposed class for monetary damages,

liquidated damages, and costs, including reasonable attorneys' fees, for all

violations that occurred within the three (3) years prior to the filing of this

Complaint.

                             IX.      PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Stacey Hill, individually and

on behalf of all others similarly situated and the members of the proposed

Section 216 Collective, respectfully prays as follows:

       A.     That each Defendant be summoned to appear and answer this

Complaint;

       B.     For orders regarding certification of and notice to the proposed

collective and class members;

       C.     For an order of this Honorable Court entering judgment in their

favor against Defendants for their actual economic damages in an amount to be

determined at trial;

       D.     For liquidated damages as provided for under the FLSA and the

AMWA;

       E.     For attorneys' fees, costs, and pre-judgment interest; and

       F.     For such other and further relief as this Court deems necessary,

just and proper.




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                                                      Respectfully submitted,

                                                      STACEY HILL, Individually and on
                                                      Behalf of All Others Similarly
                                                      Situated, PLAINTIFF

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